131 F.3d 146
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.The HOMER LAUGHLIN CHINA COMPANY, a Delaware corporation,Plaintiff-Appellee,v.TARGET STORES, a division of Dayton Hudson Corporation, aMinnesota corporation, Defendant-Appellant.
    No. 97-56141.
    United States Court of Appeals, Ninth Circuit.
    Submitted November 17, 1997.**Decided Nov. 20, 1997.
    
      1
      Appeal from the United States District Court for the Central District of California, D.C. No. CV 97-4048-GHK;  George H. King, District Judge, Presiding.
    
    
      2
      Before HUG, Chief Judge, PREGERSON and BEEZER, Circuit Judges
    
    
      3
      MEMORANDUM*
    
    
      4
      This preliminary injunction appeal comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      5
      Our inquiry is limited to whether the district court has abused its discretion in granting the preliminary injunction or based its decision on an erroneous legal standard or on clearly erroneous findings of fact.  See Does 1-5 v. Chandler, 83 F.3d 1150, 1152 (9th Cir.1996).
    
    
      6
      The record before us shows that the district court did not rely upon an erroneous legal premise or abuse its discretion in concluding that appellant's showing of probable success on the merits and the possibility of irreparable injury was sufficient to warrant preliminary injunctive relief.  See id.;   see also Sports Form, Inc. v. United Press Int'l, Inc., 686 F.2d 750, 753 (9th Cir.1982) (stating legal standards governing issuance of preliminary injunction).  Moreover, the court's factual findings are not clearly erroneous.  See Chandler, 83 F.3d at 1152.
    
    
      7
      Accordingly, the district court's grant of a preliminary injunction is AFFIRMED.
    
    
      
        **
         The panel unanimously agrees that this case is appropriate for submission without oral argument pursuant to Fed.R.App.P. 34(a) and Ninth Cir.R. 34-4.  Accordingly, appellant's request for oral argument and disposition by a merits panel is denied
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Cir.R. 36-3
      
    
    